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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
v.                                                 )        Case No. 2:22-CV-04022-BCW
                                                   )
STATE OF MISSOURI, et al.,                         )
                                                   )
                         Defendants.               )

                                        OPINION AND ORDER

        Before the Court is Plaintiff’s Motion for Summary Judgment (Doc. #8), Defendants’

Motion to Dismiss Under Fed. R. Civ. P. 12(b)(1) (Doc. #13), and Defendants’ Motion to Dismiss

Under Fed. R. Civ. P. 12(b)(6) (Doc. #15). The Court, being duly advised of the premises, denies

Defendants’ motions to dismiss (Docs. #13 & #15) and grants Plaintiff’s motion for summary

judgment (Doc. #8).

                                             BACKGROUND

        On February 16, 2022, Plaintiff the United States of America filed a complaint in this Court

against Defendants the State of Missouri, Michael L. Parson in his official capacity as the Governor

of the State of Missouri, and Andrew Bailey1 in his official capacity as the Attorney General of

the State of Missouri (collectively, “Defendants”). The United States challenges the

constitutionality of Missouri General Assembly House Bill No. 85, signed into law on June 12,

2021, and codified in Mo. Rev. Stat. §§ 1.410 – 1.485 (“SAPA”).




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 Andrew Bailey in his official capacity as Missouri Attorney General is substituted for former Missouri Attorney
General Eric Schmitt. Fed. R. Civ. P. 25(d).

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        The United States seeks declaratory and injunctive relief against Defendants’

implementation and enforcement of SAPA through three claims for relief: (I) Supremacy Clause;

(II) preemption; and (III) violation of intergovernmental immunity. (Doc. #1).

        The United States seeks a declaratory judgment that SAPA is invalid, null, void, and of no

effect, and further seeks a declaration “that state and local officials may lawfully participate in

joint federal task forces, assist in the investigation and enforcement of federal firearm crimes, and

fully share information with the Federal Government without fear of [SAPA’s] penalties.” (Doc.

#1 at 26-27). Further, the United States seeks injunctive relief against SAPA’s implementation and

enforcement by Defendants, as well as costs in pursuing this action and any other just and proper

relief. (Doc. #1 at 27).

        On February 28, 2022, the United States filed the instant motion for summary judgment

that there is no genuine issue of material fact and it is entitled to declaratory and injunctive relief

as a matter of law. (Doc. #8). In the course of the summary judgment briefing, Defendants filed

two motions to dismiss, one under Fed. R. Civ. P. 12(b)(1), and one under Fed. R. Civ. P. 12(b)(6).

(Docs. #13 & #16). These three motions are fully briefed and ripe for consideration, alongside the

amici curiae briefs filed in this matter. (Docs. #7, #15-1, #21-1, #30, #38, #42, #44, #46, #53, #55,

#58, #60, #61, #63-#76, #78-#83).

        A. Defendants’ motion to dismiss under Fed. R. Civ. P. 12(b)(1) (Doc. #13) is denied.

        The Court first considers Defendants’ motion to dismiss for lack of subject matter

jurisdiction. Kronholm v. Fed. Deposit Ins. Corp., 915 F.2d 1171, 1174 (8th Cir. 1990) (citing

Barclay Square Props. v. Midwest Fed. Sav. & Loan, 893 F.2d 968, 969 (8th Cir. 1990)) (“Subject-

matter jurisdiction is a threshold requirement which must be assured in every federal case.”).




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Defendants argue the United States’ complaint should be dismissed under Fed. R. Civ. P. 12(b)(1)

for two reasons: (1) lack of standing; and (2) lack of cause of action.

        Because Defendants challenge subject matter jurisdiction on the face of the complaint, “all

of the factual allegations concerning jurisdiction are presumed to be true and the motion is

successful if the plaintiff fails to allege an element necessary for subject matter jurisdiction.” Titus

v. Sullivan, 4 F.3d 590, 593 (8th Cir. 1993) (citing Eaton v. Dorchester Dev., Inc., 692 F.2d 727,

731-32 (11th Cir. 1982)).

                1. The United States has standing.

        Defendants argue that because the United States does not demonstrate any of the three

requirements for standing, the complaint should be dismissed for lack of subject matter

jurisdiction. (Doc. #13).

        “[S]tanding is an essential and unchanging part of the case-or-controversy requirement of

Article III.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “To establish standing, a plaintiff

must show that he has suffered an injury in fact that is fairly traceable to the challenged conduct

of the defendant and will likely be redressed by a favorable decision.” Digit. Recognition Network,

Inc. v. Hutchinson, 803 F.3d 952, 956 (8th Cir. 2015) (citing Lujan, 504 U.S. at 560-61) (internal

citations and quotations omitted) (standing requires (1) “an injury in fact – an invasion of a legally

protected interest which is (a) concrete and particularized, and (b) actual or imminent, not

conjectural or hypothetical”; (2) “a causal connection between the injury and the conduct” of which

plaintiff complains that is “fairly traceable” to the defendant; and (3) a likelihood, “as opposed to

merely speculat[ion]” that the injury will be redressed by a favorable decision)).

        First, Defendants rely on Muskrat v. United States, 219 U.S. 346 (1911) to argue that there

is no case or controversy, nor any harm or threat of harm to the United States that is attributable



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to SAPA. (Doc. #13 at 109). Second, Defendants argue the United States cannot show causation

because Defendants do not enforce SAPA; rather, the statutory scheme is enforced through private

civil action. Third, Defendants argue the United States cannot show redressability because

declaratory and/or injunctive relief against Defendants would not redress the United States’ alleged

harm.

                a. The United States demonstrates injury in fact.

        Defendants argue the United States has no injury in fact for two reasons: (1) the United

States alleges no case or controversy under Muskrat; and (2) only state actors, and not the United

States, are subject to regulation under SAPA.

        Muskrat involved a congressional act relating to plaintiffs’ rights to Cherokee lands and

funds. 219 U.S. at 349-350. The legislation conferred jurisdiction “upon the court of claims with

the right of appeal, by either party, to the Supreme Court of the United States, to hear, determine,

and adjudicate each of said suits.” Id. at 350. When subsequent legislation potentially increased

the number of individuals with rights to the lands and funds at issue, plaintiffs sued. Id. at 348-49.

        The Supreme Court of the United States dismissed the Muskrat plaintiffs’ claims for lack

of jurisdiction because, while the legislation authorized plaintiffs’ suit, plaintiffs had incurred no

injury; therefore, plaintiffs’ suit sought only “to settle the doubtful character of the legislation in

question . . . .” Id. at 361. Because the Muskrat plaintiffs did not present a “justiciable controversy

within the authority of the court, acting within the limitations of the Constitution under which it

was created,” the Supreme Court reversed and remanded with instructions to dismiss for lack of

jurisdiction. Id. at 363.

        Here, in contrast with Muskrat, the United States demonstrates an injury in fact attributable

to Defendants’ implementation and enforcement of SAPA. The United States has standing to



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challenge state laws that interfere with the federal government’s operations and objectives. United

States v. Arizona, 703 F. Supp. 2d 980, 1007 (D. Ariz. 2010) (citing Crosby v. Nat’l Foreign Trade

Council, 530 U.S. 363, 379-80 & n. 14 (2000); Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 413

(2003)), aff’d, 641 F.3d 339 (9th Cir. 2011), aff’d in part, 567 U.S. 387 (2012) (federal

enforcement undermined by state’s enforcement of interfering state legislation)); United States v.

Sup. Ct. of N. Mexico, 839 F.3d 888, 899 (10th Cir. 2016) (United States had standing to challenge

state rule that “impair[ed] the United States’s interest in the effective conduct of federal criminal

investigations and prosecutions”). The United States’ law enforcement operations have been

affected through withdrawals from and/or limitations on cooperation in joint federal-state task

forces, restrictions on sharing information, confusion about the validity of federal law in light of

SAPA, and discrimination against federal employees and those deputized for federal law

enforcement who lawfully enforce federal law.

       Based on the complaint and attendant declarations, the United States has a concrete injury,

attributable to Defendants’ implementation and enforcement of SAPA, that is particularized and

actual. Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (citing Lujan, 504 U.S. at 560). The United

States demonstrates injury in fact relative to SAPA’s interference with the function of federal

firearms regulations and public safety objectives. The injury in fact requirement is satisfied.

               b. The United States demonstrates causation.

       Defendants argue the United States cannot show causation because SAPA is enforced not

by Defendants, but through private civil action. For causation to exist for purposes of standing,

“the injury has to be fairly traceable to the challenged action of the defendant, and not the result

of the independent action of some third party not before the court.” Agred Found. v. U.S. Army

Corps of Eng’r, 3 F.4th 1069, 1073 (8th Cir. 2021) (citing Lujan, 504 U.S. at 560).



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        SAPA requires state and local law enforcement officials to cease enforcement of federal

firearms regulations deemed infringements under § 1.420 and imposes a duty on state courts and

state law enforcement agencies to protect citizens against the infringements identified. Mo. Rev.

Stat. § 1.440. State law enforcement entities have withdrawn personnel from joint task forces and

restricted what information can be shared with federal law enforcement agencies. (Docs. ##8-2, 8-

3, 8-4). In addition, “any person” can file suit against a law enforcement entity knowingly

enforcing § 1.420’s “infringements,” which includes Missouri’s Attorney General on the State’s

behalf. Mo. Rev. Stat. § 27.060; § 1.020(12). Missouri law otherwise authorizes the Defendants’

enforcement of SAPA by other means. Mo. Rev. Stat. § 106.220 (state official may be removed

for knowing or willful failure to perform any official act or duty). For these reasons, the United

States’ injury in fact is fairly traceable to Defendants. The causation requirement for the United

States’ standing is satisfied.

                c. The United States demonstrates redressability.

        Defendants argue the United States does not show the “capable of redress” requirement of

standing because SAPA is enforced by private individuals.

        Redressability means “a favorable decision will likely redress” the injury alleged. United

States v. Metro. St. Louis Sewer Dist., 569 F.3d 829, 834 (8th Cir. 2009). “[A] party satisfies the

redressability requirement when he shows that a favorable decision will relieve a discrete injury

to himself. He need not show that a favorable decision will relieve his every injury.” 281 Care

Comm. v. Arneson, 638 F.3d 621, 631 (8th Cir. 2011) (citing Minn. Citizens Concerned for Life

v. FEC, 113 F.3d 129, 131 (8th Cir. 1997)).

        State and local law enforcement personnel are withdrawing from federal joint task forces

and refusing to share investigative information based on SAPA. (Docs. ##8-2, 8-3, 8-4). Moreover,



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SAPA purports to regulate and/or discriminate against state and local law enforcement officials

who are deputized to lawfully enforce federal law. Additionally, and as referenced in the previous

section, Defendants may enforce SAPA. “When a statute is challenged as unconstitutional, the

proper defendants are the officials whose role it is to administer and enforce the statute.” 281 Care,

638 F.3d at 631 (citing Mangual v. Rotger-Sabat, 317 F.3d 45, 58 (1st Cir. 2003)). The United

States satisfies the redressability requirement, notwithstanding the SAPA’s private cause of action

provisions.

       For these reasons, the United States has standing for its claims for declaratory and

injunctive relief against Defendants. The motion to dismiss for lack of jurisdiction (Doc. # 13)

based on standing is denied. The Court considers Defendants’ second argument - that the United

States lacks a cause of action - in the context of the United States’ motion for summary judgment

and Defendants’ motion to dismiss for failure to state a claim below.

       B. The United States’ motion for summary judgment (Doc. #8) is granted and
          Defendants’ motion to dismiss under Fed. R. Civ. P. 12(b)(6) (Doc. #16) is denied.

       The United States argues there is no genuine issue of material fact and it is entitled to

judgment as a matter of law that SAPA is unconstitutional. (Doc. #8). Defendants argue the United

States’ complaint should be dismissed because SAPA regulates only state actors and not the federal

government, and under Printz v. United States, 521 U.S. 898 (1997), Defendants cannot be

compelled to enforce a federal regulatory scheme.

       Summary judgment is proper if there is no genuine issue of material fact and the moving

party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56; Rafos v. Outboard Marine

Corp., 1 F.3d 707, 708 (8th Cir. 1993) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-23

(1986)). Because the United States’ motion for summary judgment applies a more stringent

standard than that applicable to Defendants’ motion to dismiss under Fed. R. Civ. P. 12(b)(6), and

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because there exist no genuine issues of material fact on this record, disposition of the United

States’ motion for summary judgment (Doc. #8) is dispositive of Defendants’ motion to dismiss

for failure to state a claim and the remainder of Defendants’ motion to dismiss for lack of subject

matter jurisdiction.

                          UNCONTROVERTED MATERIAL FACTS

       In 1934, Congress enacted the National Firearms Act, 26 U.S.C. §§ 5811-22, 5841

(“NFA”). In 1968, Congress enacted the Gun Control Act, 18 U.S.C. §§ 921 – 924 (“GCA”). These

regulatory schemes deal with the sale, manufacture, and possession of firearms and ammunition.

       The NFA provides for registration and taxation requirements on the manufacture and

transfer of certain firearms, including machineguns, certain types of rifles, shotguns, silencers, and

“destructive devices,” like grenades. The NFA does not regulate most handguns, nor does it

prohibit ownership of regulated firearms.

       The GCA defines “firearm,” to include “(A) any weapon (including a starter gun) which

will or is designed to or may readily be converted to expel a projectile by the action of an explosive;

(B) the frame or receiver of any such weapon; (C) any firearm muffler or firearm silencer; or (D)

any destructive device.” (Doc. #40 at 9) (citing 18 U.S.C. § 921(a)(3)). The GCA also bans the

transfer or possession of machineguns not already lawfully possessed prior to 1986, and the

manufacture or sale or transfer of any firearm that is not detectable by “walk-through metal

detector,” or x-ray inspection commonly used at airports.

       The GCA imposes licensing requirements on anyone “engaged in the business of

importing, manufacturing, or dealing firearms, or importing or manufacturing ammunition,” and

requires those involved in these activities, i.e. “Federal Firearms Licensees”, to receive a license

from the Attorney General and pay certain fees. Id. (citing 18 U.S.C. § 923(a)). Federal Firearms



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Licensees (“FFL”) must maintain “records of importation, production, shipment, receipt, sale, or

other disposition of firearms,” and may not transfer a firearm to an unlicensed person unless they

complete a Firearms Transaction Record. These records must be available at the FFL’s business

premises for compliance inspections conducted by the Federal Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”). FFLs are also required to verify, in the context of an over-the-

counter sale of a firearm, the purchaser’s identity and conduct a background check using the

National Instant Criminal Background Check System (“NICS”) administered by the Federal

Bureau of Investigation (“FBI”). In addition, FFLs are required to ensure every firearm

manufactured or imported is identified by a serial number and mark indicating the firearm’s model,

as well as the Licensee’s name and location. FFLs also must report the theft or loss of any firearm

to ATF and local law enforcement and must respond to requests made by the Attorney General

made in the course of a criminal investigation relating to the disposition of a firearm.

       The GCA also prohibits the possession of firearms by certain categories of individuals,

including those who have been convicted of a felony, those who have been convicted of a

misdemeanor crime of domestic violence, those who have been dishonorably discharged from the

military, noncitizens not lawfully in the United States, unlawful users of controlled substances,

and others. (Doc. #40 at 11) (citing 18 U.S.C. § 922(g)).

       On June 12, 2021, Governor Parson signed SAPA – the “Second Amendment Preservation

Act,” – into law. SAPA states as follows.

       1.410. Citation of law – findings
       [ . . . .]
       2. The general assembly finds and declares that:
                  [ . . . .]
                  (5) [ . . . .] Although the several states have granted supremacy to laws and
                  treaties made under the powers granted in the Constitution of the United
                  States, such supremacy does not extend to various federal statutes,
                  executive orders, administrative orders, court orders, rules, regulations, or

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           other actions that collect data or restrict or prohibit the manufacture,
           ownership, or use of firearms, firearm accessories, or ammunition
           exclusively within the borders of Missouri; such statutes, executive
           orders, administrative orders, court orders, rules, regulations, and
           other actions exceed the powers granted to the federal government
           except to the extent they are necessary and proper for governing and
           regulating the United States Armed Forces or for organizing, arming,
           and disciplining militia forces actively employed in the service of the
           United States Armed Forces . . . .

   1.420. Federal laws deemed infringements of United States and Missouri
   Constitutions
   The following federal acts, laws, executive orders, administrative orders, rules, and
   regulations shall be considered infringements on the people’s right to keep and bear
   arms, as guaranteed by Amendment II of the Constitution of the United States and
   Article I, Section 23 of the Constitution of Missouri, within the borders of this state
   including, but not limited to:
           (1) Any tax, levy, fee, or stamp imposed on firearms, firearm accessories,
           or ammunition not common to all other goods and services and that might
           reasonably be expected to create a chilling effect on the purchase or
           ownership of those items by law-abiding citizens;
           (2) Any registration or tracking of firearms, firearm accessories, or
           ammunition;
           (3) Any registration or tracking of the ownership of firearms, firearm
           accessories, or ammunition;
           (4) Any act forbidding the possession, ownership, use, or transfer of a
           firearm, firearm accessory, or ammunition by law-abiding citizens; and
           (5) Any act ordering the confiscation of firearms, firearm accessories, or
           ammunition from law-abiding citizens.

   1.430. Invalidity of federal laws deemed an infringement
   All federal acts, laws, executive orders, administrative orders, rules, and
   regulations, regardless of whether they were enacted before or after the provisions
   of sections 1.410 to 1.485, that infringe on the people's right to keep and bear arms
   as guaranteed by the Second Amendment to the Constitution of the United States
   and Article I, Section 23 of the Constitution of Missouri shall be invalid to this
   state, shall not be recognized by this state, shall be specifically rejected by this state,
   and shall not be enforced by this state.


   1.440. Protection of citizens against infringement against right to keep and
   bear arms
   It shall be the duty of the courts and law enforcement agencies of this state to protect
   the rights of law-abiding citizens to keep and bear arms within the borders of this
   state and to protect these rights from the infringements defined under section 1.420.



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   1.450 Enforcement of federal laws that infringe on the right to keep and bear
   arms prohibited
   No entity or person, including any public officer or employee of this state or any
   political subdivision of this state, shall have the authority to enforce or attempt to
   enforce any federal acts, laws, executive orders, administrative orders, rules,
   regulations, statutes, or ordinances infringing on the right to keep and bear arms as
   described under section 1.420. Nothing in sections 1.410 to 1.480 shall be
   construed to prohibit Missouri officials from accepting aid from federal officials in
   an effort to enforce Missouri laws.

   1.460. Violations, liability and civil penalty – sovereign immunity not a defense
   1. Any political subdivision or law enforcement agency that employs a law
   enforcement officer who acts knowingly, as defined under section 562.016, to
   violate the provisions of section 1.450 or otherwise knowingly deprives a citizen of
   Missouri of the rights or privileges ensured by Amendment II of the Constitution
   of the United States or Article I, Section 23 of the Constitution of Missouri while
   acting under the color of any state or federal law shall be liable to the injured party
   in an action at law, suit in equity, or other proper proceeding for redress, and subject
   to a civil penalty of fifty thousand dollars per occurrence. Any person injured under
   this section shall have standing to pursue an action for injunctive relief in the circuit
   court of the county in which the action allegedly occurred or in the circuit court of
   Cole County with respect to the actions of such individual. The court shall hold a
   hearing on the motion for temporary restraining order and preliminary injunction
   within thirty days of service of the petition.
   2. In such actions, the court may award the prevailing party, other than the state of
   Missouri or any political subdivision of the state, reasonable attorney's fees and
   costs.
   3. Sovereign immunity shall not be an affirmative defense in any action pursuant
   to this section.

   1.470. Employment of certain former federal employees prohibited, civil
   penalty – standing – no sovereign immunity
   1. Any political subdivision or law enforcement agency that knowingly employs an
   individual acting or who previously acted as an official, agent, employee, or deputy
   of the government of the United States, or otherwise acted under the color of federal
   law within the borders of this state, who has knowingly, as defined under section
   562.016, after the adoption of this section:
   (1) Enforced or attempted to enforce any of the infringements identified in section
   1.420; or
   (2) Given material aid and support to the efforts of another who enforces or attempts
   to enforce any of the infringements identified in section 1.420;
   shall be subject to a civil penalty of fifty thousand dollars per employee hired by
   the political subdivision or law enforcement agency. Any person residing in a
   jurisdiction who believes that an individual has taken action that would violate the
   provisions of this section shall have standing to pursue an action.



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   2. Any person residing or conducting business in a jurisdiction who believes that
   an individual has taken action that would violate the provisions of this section shall
   have standing to pursue an action for injunctive relief in the circuit court of the
   county in which the action allegedly occurred or in the circuit court of Cole County
   with respect to the actions of such individual. The court shall hold a hearing on the
   motion for a temporary restraining order and preliminary injunction within thirty
   days of service of the petition.
   3. In such actions, the court may award the prevailing party, other than the state of
   Missouri or any political subdivision of the state, reasonable attorney's fees and
   costs.
   4. Sovereign immunity shall not be an affirmative defense in any action pursuant
   to this section.

   1.480. Definitions – acts not deemed violation
   1. For sections. 1.410 to 1.485, the term “law-abiding citizen” shall mean a person
   who is not otherwise precluded under state law from possessing a firearm and shall
   not be construed to include anyone who is not legally present in the United States
   or the state of Missouri.
   2. For the purposes of sections 1.410 to 1.480, “material aid and support” shall
   include voluntarily giving or allowing others to make use of lodging;
   communications equipment or services, including social media accounts; facilities;
   weapons; personnel; transportation; clothing; or other physical assets. Material aid
   and support shall not include giving or allowing the use of medicine or other
   materials necessary to treat physical injuries, nor shall the term include any
   assistance provided to help persons escape a serious, present risk of life-threatening
   injury.
   3. It shall not be considered a violation of sections 1.410 to 1.480 to provide
   material aid to federal officials who are in pursuit of a suspect when there is a
   demonstrable criminal nexus with another state or country and such suspect is either
   not a citizen of this state or is not present in this state.
   4. It shall not be considered a violation of sections 1.410 to 1.480 to provide
   material aid to federal prosecution for:
   (1) Felony crimes against a person when such prosecution includes weapons
   violations substantially similar to those found in chapter 570 or1 571 so long as
   such weapons violations are merely ancillary to such prosecution; or
   (2) Class A or class B felony violations substantially similar to those found in
   chapter 579 when such prosecution includes weapons violations substantially
   similar to those found in chapter 570 or1 571 so long as such weapons violations
   are merely ancillary to such prosecution.
   5. The provisions of sections 1.410 to 1.485 shall be applicable to offenses
   occurring on or after August 28, 2021.

   1.485. Severability clause
   If any provision of sections 1.410 to 1.485 or the application thereof to any person
   or circumstance is held invalid, such determination shall not affect the provisions
   or applications of sections 1.410 to 1.485 that may be given effect without the

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       invalid provision or application, and the provisions of sections 1.410 to 1.485 are
       severable.

Mo. Rev. Stat. §§ 1.410 - 1.485 (2021) (“SAPA”) (emphasis added).

       Federal joint task forces involve state and local law enforcement officers who are deputized

as federal law enforcement officers and voluntarily serve alongside federal officials to enforce

federal law. 28 U.S.C. §§ 561(f), 566(c); 28 C.F.R. § 0.112(b). ATF relies on joint task forces to

investigate and enforce laws relevant to the illegal use, possession, and trafficking of firearms. The

United States Marshal Service has three task forces across Missouri that are primarily devoted to

the apprehension of fugitives.

       After SAPA was enacted, ATF sent an informational letter to federal firearms licensees to

“confirm the continuing applicability of existing federal regulations.”

       SAPA is the subject to two state court lawsuits: City of St. Louis v. State of Missouri, No.

21AC-CC00237 (Circuit Court of Cole County, Missouri) and City of Arnold v. State of Missouri,

No. 22JE-cc00010 (Circuit Court of Jefferson County, Missouri). The Federal Government

participated as amicus curiae in the City of St Louis, No. SC99290 (Mo.), in which the Missouri

Supreme Court heard argument on February 7, 2022.

                                            ANALYSIS

       The United States argues it is entitled to summary judgment because SAPA is

unconstitutional. First, the United States argues SAPA is unconstitutional because it violates the

Supremacy Clause of the Federal Constitution in that its “cornerstone” provision, § 1.420, purports

to nullify federal law and/or is preempted by federal law. The United States argues because § 1.420

is non-severable from SAPA’s other provisions, SAPA is invalid and unconstitutional in its

entirety. Second, the United States argues §§ 1.430 – 1.470 are each independently

unconstitutional as violations of the doctrine of intergovernmental immunity.

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       A. Section 1.420 violates the Supremacy Clause.

       The Supremacy Clause provides that the “Constitution, and the Laws of the United States

which shall be made in Pursuance thereof . . . shall be the supreme Law of the Land; and the Judges

in every State shall be bound thereby, any Thing in the Constitution or Laws of any State to the

Contrary notwithstanding.” U.S. CONST. art. VI, cl. 2. “By this declaration, the states are prohibited

from passing any acts which shall be repugnant to a law of the United States.” M’Culloch v.

Maryland, 17 U.S. 316, 361 (1819). “The states have no power, by taxation or otherwise, to retard,

impede, burden, or in any manner control the operations of the constitutional laws enacted by

congress to carry into effect the powers vested in the national government.” Id. at 317. Further,

“[t]he law of congress is paramount; it cannot be nullified by direct act of any state, nor the scope

and effect of its provisions set at naught indirectly.” Anderson v. Carkins, 135 U.S. 483, 490

(1890). As such, a state legislature’s attempt to “interpos[e]” itself against federal law “is illegal

defiance of constitutional authority.” United States v. Louisiana, 364 U.S 500, 501 (1960) (citing

Bush v. Orleans Parish Sch. Bd., 188 F. Supp. 916, 926 (E.D. La. 1960); Cooper v. Aaron, 358

U.S. 1 (1958)).

       SAPA is an unconstitutional “interposit[ion]” against federal law and is designed to be just

that. Id. Section 1.410(5) states the Missouri General Assembly’s declaration that the Supremacy

Clause “does not extend to various federal statutes, executive orders, administrative orders, court

orders, rules, regulations, or other actions that collect data or restrict or prohibit the manufacture,

ownership, or use of firearms, firearm accessories, or ammunition exclusively within the borders

of Missouri . . . .” Mo. Rev. Stat. § 1.410(5). However, the Missouri General Assembly’s assertion

that the Supremacy Clause does not extend to acts of Congress does not make it so. To the contrary,




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“[t]he law of congress is paramount; it cannot be nullified by direct act of any state, nor the scope

and effect of its provisions set at naught indirectly.” Anderson, 135 U.S. at 490.

        The plain language of § 1.420 reiterates and confirms SAPA’s unconstitutional design.

Section 1.420’s introductory language states: “[t]he following federal acts laws, executive orders

administrative orders, rules, and regulations shall be considered infringements on the people’s

right to keep and bear arms, as guaranteed by Amendment II of the Constitution of the United

States and [the Missouri Constitution], within the borders of this state . . . .” Mo. Rev. Stat. § 1.420.

Section 1.420 then purports to categorize certain enumerated federal regulations set forth in the

National Firearms Act and the Gun Control Act as “infringements on the people’s right to keep

and bear arms, as guaranteed by” the Second Amendment. Yet, notwithstanding § 1.420’s

recitation of infringements, the National Firearms Act and the Gun Control Act are “presumptively

lawful regulatory measures.” District of Columbia v. Heller, 554 U.S. 570, 626-27 n.26 (2008); 26

U.S.C. §§ 5811-5822, 5841 (federal firearms licensing, registration, tax requirements); 18 U.S.C.

§ 922(a)(1)(A), 923(a); 922(g) (federal regulations for manufacture, importation and firearms

dealing and imposing licensing, recordkeeping, and marking requirements; limits on possession);

see also, United States v. Bena, 664 F.3d 1180, 1184 (8th Cir. 2011); United States v. Joos, 638

F.3d 581, 586 (8th Cir. 2011); United States v. Seay, 620 F.3d 919, 924-25 (8th Cir. 2010); United

States v. Fincher, 538 F.3d 868, 873-74 (8th Cir. 2008).

        Though § 1.420 purports to invalidate substantive provisions of the NFA and the GCA

within Missouri, such an act is invalid under the Supremacy Clause. And, even though Missouri

defines certain substantive provisions of the NFA and GCA as “infringements,” the regulatory

measures are still valid in Missouri through the Supremacy Clause. Thus, to the extent § 1.420

purports to negate the constitutionality or substance of the NFA or GCA, these regulatory schemes



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are presumptively lawful, and it is an impermissible nullification attempt that violates the

Supremacy Clause.

       B. Section 1.420 is preempted.

       Section 1.420 provides that certain federal firearms regulations are “infringements on the

people’s right to keep and bear arms, as guaranteed by Amendment II of the Constitution of the

United States and Article I, Section 23 of the Constitution of Missouri, within the borders of this

state, including, but not limited to,” in summary, (1) taxes or fees on firearms, accessories, or

ammunition; (2) registration of firearms, accessories, or ammunition; (3) registration or tracking

of ownership of firearms, accessories, or ammunition; (4) bans on possession/ownership/transfer

of firearms, accessories, or ammunition by law-abiding citizens; and (5) confiscation of firearms,

accessories, or ammunition from law-abiding citizens. Mo. Rev. Stat. § 1.420.

       A federal law preempts a state law if the two are in direct conflict. Alliance Ins. Co. v.

Wilson, 384 F.3d 547, 551 (8th Cir. 2004). A “direct conflict” occurs “[w]hen compliance with

both federal and state regulations is a physical impossibility or when a state law stands as an

obstacle to the accomplishment and execution of the full purposes and objectives of Congress . . .

.” Id. If “Congress enacts a law that imposes restrictions or confers rights on private actors,” and

“a state law confers rights or imposes restrictions that conflict with federal law,” then “the federal

law takes precedence and the state law is preempted.” Murphy v. Nat’l Coll. Athletic Ass’n, 138

S. Ct. 1461, 1480 (2018).

       Under the uncontroverted facts, the NFA sets forth taxation requirements on the

manufacture and transfer of certain firearms. 26 U.S.C. §§ 5811, 5821. Section 1.420(1) states

“[a]ny tax, levy, feel or stamp imposed on firearms, firearm accessories, or ammunition . . . that

might reasonably be expected to create a chilling effect on the purchase or ownership of those



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items by law-abiding citizens,” is an “infringement on the people’s right to keep and bear arms, as

guaranteed by Amendment II of the Constitution of the United States . . . within the borders of

[Missouri].” However, that Missouri states that the taxation requirements “create a chilling effect

. . .” is immaterial where Congress has lawfully imposed the requirements. Further, such a

statement stands as an obstacle to the full purposes and objectives of federal firearms regulatory

measures because it creates confusion regarding a Missouri citizen’s obligation to comply with the

taxation requirements of the NFA. As such, § 1.420 is preempted.

        Under the uncontroverted facts, the NFA provides for the registration and tracking of

firearms and their possession. 26 U.S.C. § 5841(a). The GCA imposes other requirements on those

engaged in the business of dealing or manufacturing or importing firearms or ammunition. These

Federal Firearms Licensees (FFL) must receive a license from the Attorney General and pay

certain fees. Each FFL is required to maintain “records of importation, production, shipment,

receipt, sale, or other disposition of firearms,” and may not transfer a firearm to an unlicensed

person without completing a Firearms Transaction Record. FFLs must also conduct background

checks using the National Instant Criminal Background Check System and verify a purchaser’s

identify for an over-the-counter sale of a firearm. Moreover, FFLS must ensure each firearm

manufactured and imported must be identified by serial number and the licensees’ identifying

mark.

        However, §§ 1.420(2) and 1.420(3) state “[a]ny registration or tracking of firearms, firearm

accessories, or ammunition,” and/or “[a]ny registration or tracking of the ownership of firearms,

firearm accessories or ammunition,” is an “infringement on the people’s right to keep and bear

arms, as guaranteed by Amendment II of the Constitution of the United States . . . within the

borders of [Missouri].” Sections 1.420(2) and 1.420(3) create confusion regarding registration of



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firearms by purporting to invalidate federal registration and tracking requirements. The logical

implication is that Missouri citizens need not comply with federal licensing and registration

requirements “within the borders of [Missouri].” Since Missouri citizens must comply with federal

registration and licensing requirements for firearms notwithstanding SAPA’s definition of

infringements, §§ 1.420(2) and 1.420(3) stand as obstacles to the full purposes and objectives of

federal firearms regulatory measures and are preempted.

       Moreover, the GCA also prohibits possession of firearms by certain categories of

individuals, including those who have been convicted of a felony, those who have been convicted

of a misdemeanor crime of domestic violence, those who have been dishonorably discharged from

the military, noncitizens not lawfully in the United States, unlawful users of controlled substances,

and others. 18 U.S.C. § 922(g). Sections 1.420(4) and 1.420(5) state “[a]ny act forbidding the

possession, ownership, use, or transfer of a firearm, firearm accessory, or ammunition by law-

abiding citizens” and/or “[a]ny act ordering the confiscation of firearms, firearm accessories, or

ammunition from law-abiding citizens is an “infringement on the people’s right to keep and bear

arms, as guaranteed by Amendment II of the Constitution of the United States . . . within the

borders of [Missouri].” As used in these provisions, “law-abiding citizen” is defined as “a person

who is not otherwise precluded under state law from possessing a firearm and shall not be

construed to include anyone who is not legally present in the United States or in the state of

Missouri.” Mo. Rev. Stat. § 1.480. Sections 1.420(4) and (5) refer to as “infringements” limits on

who may possess a firearm, as those limits are set forth in the GCA. SAPA’s definition of “law-

abiding citizen” expands who may lawfully possess a firearm within the state of Missouri and/or

whose firearms, firearm accessories, or ammunition may be subject to confiscation. Sections

1.420(4) and 1.420(5) create confusion about the lawful possession, ownership, use, transfer, or



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confiscation of firearms within Missouri by purporting to reduce the scope of federal regulations

pertaining to the possession, ownership, use, transfer, or confiscation of firearms, with which

federal regulations Missouri citizens must comply. By attempting to alter the definition of a “law-

abiding citizen” who may possess or own or transfer or use a firearm within Missouri, §§ 1.420(4)

and 1.420(5) conflict with the GCA’s definition of who may possess or own or transfer or use a

firearm within Missouri, and as such, §§ 1.420(4) and 1.420(5) stand as obstacles to the full

purposes and objectives of federal firearms regulatory measures and are preempted. For all of these

reasons, § 1.420 is preempted and unconstitutional on its face.

         C. SAPA is unconstitutional in its entirety.

         The next issue is whether the unconstitutionality of § 1.420 renders SAPA unconstitutional

in its entirety because the other provisions are “so essentially and inseparably connected with, and

so dependent upon” § 1.420 “that it cannot be presumed the legislature would have enacted the

valid provisions without the void one.” Priorities USA v. Missouri, 591 S.W.3d 448, 456 (Mo.

2020).

         The parties agree that Missouri law governs whether SAPA is severable. The Missouri

Supreme Court “employs a two-part test to determine whether valid parts of a statute can be upheld

despite the statute’s unconstitutional parts.” Id. (citing Dodson v. Ferrara, 491 S.W.3d 542, 558

(Mo. 2016)). First, the Court asks “whether, after separating the invalid portions, the remaining

portions are in all respects complete and susceptible of constitutional enforcement.” Id. Second,

the Court asks “whether ‘the remaining statute is one that the legislature would have enacted if it

had known that the rescinded portion was invalid.’” Id.

         Here, SAPA fails Missouri’s severability test. First, even if § 1.420 is severed, the

remaining portions of the statute cannot be said to be “in all respects complete and susceptible to



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constitutional enforcement.” Priorities USA, 591 S.W.3d at 456. Because § 1.420 defines

categorizes certain “federal acts, laws, executive orders, administrative orders, rules, and

regulations” as “infringements,” SAPA’s other provisions are rendered meaningless without this

definition.

       For example, § 1.430 states that such infringements are invalid as applied to the State of

Missouri, §1.440 imbues courts and law enforcement agencies with a duty to protect the citizens

of Missouri from such infringements, and § 1.450 specifically prohibits Missouri state actors from

enforcing any federal acts, laws, executive orders, etc. that have been deemed infringements by

the State of Missouri. Therefore, since each provision of SAPA relies on the definition of an

“infringement” as it is defined under § 1.420, SAPA’s remaining subsections are “essentially and

inseparably connected with, and . . . dependent upon” § 1.420. Id.

       Given the governing framework set forth in § 1.420, SAPA fails Missouri’s severability

test because it cannot be said that the legislature would have enacted SAPA had it known that §

1.420 was unconstitutionally invalid. To say otherwise would suggest the Missouri General

Assembly meant to enact a law wherein courts and law enforcement agencies have a duty to protect

citizens from “infringements” and citizens of Missouri need not recognize such “infringements”—

without actually knowing what an infringement is. Such a result would create a material ambiguity

in the statute and lead to absurd results. Missouri v. Nash, 339 S.W.3d 500, 508 (Mo. 2011)

(“[s]tatutes cannot be interpreted in ways that yield unreasonable or absurd results . . . .”).

Moreover, without § 1.420, SAPA would have no practical or legal effect and the Missouri General

Assembly would have had no basis to enact SAPA’s other provisions. Therefore, §1.420 is non-

severable and SAPA unconstitutional in its entirety.




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       D. Sections 1.430 – 1.470 violate the doctrine of intergovernmental immunity.

       Moreover, SAPA’s other substantive provisions are unconstitutional independent of §

1.420 because they violate the doctrine of intergovernmental immunity. “The Constitution’s

Supremacy Clause generally immunizes the Federal Government from state laws that directly

regulate or discriminate against it.” United States v. Washington, 596 U.S. – (June 21, 2022) (citing

South Carolina v. Baker, 485 U.S. 505, 523 (1988)). The doctrine of intergovernmental immunity

“prohibit[s] state laws that either ‘regulate the United States directly or discriminate against the

Federal Government or those with whom it deals (e.g. contractors).’” Id. (emphasis in original)

(citing North Dakota v. United States, 495 U.S. 423, 435 (1990)). Additionally, “[a] state law

discriminates against the Federal Government” in violation of the doctrine of intergovernmental

immunity if the state singles out the Federal Government “for less favorable treatment, or if it

regulates [the Federal Government] unfavorably on some basis related to their governmental

‘status.’” Id. (citing Washington v. United States, 460 U.S. 536, 546 (1983); North Dakota, 495

U.S. at 438)).

       Section 1.430 provides that all federal laws and acts that infringe on the people’s right to

keep and bear arms under the Second Amendment are invalid in Missouri, are not recognized by

Missouri, and are rejected by Missouri. At best, this statute causes confusion among state law

enforcement officials who are deputized for federal task force operations, and at worst, is

unconstitutional on its face. While Missouri cannot be compelled to assist in the enforcement of

federal regulations within the state, it may not regulate federal law enforcement or otherwise

interfere with its operations. By declaring federal firearms regulations invalid as to the state, §

1.430 violates intergovernmental immunity on its face.




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        Section 1.440 imposes a duty on Missouri courts and law enforcement agencies to protect

against infringements as defined under § 1.420. In creating an affirmative duty to protect against

infringements, § 1.440 effectively imposes an affirmative duty to effectuate an obstacle to federal

firearms enforcement within the state. In imposing a duty on courts and state law enforcement to

obstruct the enforcement of federal firearms regulations in Missouri, § 1.440 violates

intergovernmental immunity. Tennessee v. Davis, 100 U.S. 257, 263 (1879) (“No State

government can exclude [the Federal Government] from the exercise of any authority conferred

upon it by the Constitution, [or] obstruct its authorized officers against its will . . . .”).

        Section 1.450 regulates the United States directly in violation of the doctrine of

intergovernmental immunity. Section 1.450 states that “[n]o entity . . . shall have the authority to

enforce or attempt to enforce any federal acts . . .” that are deemed infringements under § 1.420.

Though Defendants argue SAPA does not regulate the United States or federal law enforcement

directly, this argument is contrary to § 1.450’s plain language.

        Finally, §§ 1.460 and 1.470 are each independently invalid as discriminatory against

federal authority in violation of the doctrine of intergovernmental immunity. Section 1.460

imposes a monetary penalty through civil enforcement action against any political subdivision or

law enforcement agency that employs an officer who knowingly violates § 1.450 while acting

under color of federal law – that is, any local law enforcement official who assists in federal

firearms regulatory enforcement in a deputized capacity. Section 1.470 imposes a monetary

penalty through civil enforcement action against any political subdivision or law enforcement

agency that employs an officer who formerly enforced the infringements identified in § 1.420 –

that is, certain federal firearms regulations – or, an officer who has given material aid and support

to others engaged in the enforcement of the infringements identified in § 1.420 – that is, federal



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law enforcement. The exposure to monetary penalties set forth in § 1.460 and 1.470 arise from

federally deputized state law enforcement officials’ enforcement of federal firearm regulations.

Moreover, these enforcement schemes are likely to discourage federal law enforcement

recruitment efforts. For these reasons, § 1.460 and § 1.470 violate intergovernmental immunity

and are invalid. Davis, 100 U.S. 25 at 263. Therefore, §§ 1.430-1.470 are each independently

unconstitutional.

        E. SAPA is unconstitutional in its entirety.

        The unconstitutionality of §§ 1.460 and 1.470 likewise renders SAPA unconstitutional as

 non-severable. Even assuming SAPA’s other provisions are susceptible of constitutional

 enforcement, which they are not, there is no basis to conclude the Missouri General Assembly

 would have enacted SAPA without the civil enforcement mechanisms set forth in §§ 1.460 and

 1.470. Priorities USA, 591 S.W.3d at 456 (two-part severability test asks first, whether after

 separating out the unconstitutional provisions, the remaining portions are susceptible of

 constitutional enforcement and second, whether without the unconstitutional provision, the

 legislature would have nonetheless enacted the law). Without §§ 1.460 and/or 1.470, SAPA has

 no practical or legal effect. The Court thus concludes §§ 1.460 and/or 1.470 are non-severable,

 rendering SAPA is unconstitutional in its entirety.

        SAPA’s practical effects are counterintuitive to its stated purpose. While purporting to

 protect citizens, SAPA exposes citizens to greater harm by interfering with the Federal

 Government’s ability to enforce lawfully enacted firearms regulations designed by Congress for

 the purpose of protecting citizens within the limits of the Constitution. Accordingly, it is hereby

        ORDERED the United States’ motion for summary judgment (Doc. #8) is GRANTED. It

is further



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       ORDERED Defendants’ motions to dismiss (Docs. #13 & #15) are DENIED. It is further

       ORDERED SAPA is invalidated as unconstitutional in its entirety as violative of the

Supremacy Clause. H.B. 85 is invalid, null, void, and of no effect. State and local law enforcement

officials in Missouri may lawfully participate in joint federal task forces, assist in the investigation

and enforcement of federal firearm crimes, and fully share information with the Federal

Government without fear of H.B. 85’s penalties. The States of Missouri and its officers, agents,

and employees and any others in active concert with such individuals are prohibited from any and

all implementation and enforcement of H.B. 85. It is further

       ORDERED the United States’ request for costs is GRANTED.

       IT IS SO ORDERED.




DATE: March 6, 2023                            /s/ Brian C. Wimes
                                               JUDGE BRIAN C. WIMES
                                               UNITED STATES DISTRICT COURT




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